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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      FORBES MEDIA LLC, et al.,
                                                                                        Case No. 21-mc-80017-PJH
                                  8                    Plaintiffs,

                                  9              v.                                     JUDGMENT
                                  10     UNITED STATES OF AMERICA,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




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                                  14          The court having entered a ruling today denying the petition, judgment is hereby

                                  15   entered against petitioners. Petitioners shall obtain no relief by way of the petition.

                                  16          IT IS SO ORDERED AND ADJUDGED.

                                  17   Dated: July 13, 2021

                                  18                                                /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  19                                                United States District Judge
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